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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARTIN SANTIAGO, on behalf             )
of himself and all others similarly    )
situated,                              )
                                       )
      Plaintiff,                       )
                                       )       Civil Action File
vs.                                    )       No. 1:22-cv-01986
                                       )
AK SECURITY SERVICES LLC,              )
                                       )
      Defendant.                       )

        JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

      Plaintiff Martin Santiago (“Plaintiff”) and Defendant AK Security Services

LLC (collectively, the “Parties”) submit this Joint Preliminary Report and Discovery

Plan pursuant to Rules 16(b) and 26(f) of the Federal Rules of Civil Procedure and

LR 16.2, N.D.Ga.

1.    Description of Case:

      (a)    Describe briefly the nature of this action.

      This collective action is brought by Plaintiff, on behalf of himself and all

others similarly situated employees, against their former employer, AK Security

Services LLC, for claims of overtime wage violations under the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”). Plaintiff seeks damages for the


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alleged FLSA violations and an award of attorneys’ fees and costs.

    (b) Summarize, in the space provided below, the facts of the case. The
summary should not be argumentative nor recite evidence.

      Plaintiff worked for AK Security Services LLC as a security guard from

approximately July 2019 through May 2022, with a gap in his employment from

approximately December 2019 through December 2021. Plaintiff alleges that he

was a non-exempt employee of AK Security. Plaintiff alleges that AK Security

violated the FLSA by failing to pay Plaintiff properly for all overtime hours.

Further, Plaintiff alleges that Defendant’s FLSA violations were willful, triggering

a 3-year rather than a 2-year statute of limitations under the FLSA.

      From approximately July 2019 through May 2022, Defendant contends

Plaintiff was engaged, on and off, as an independent contractor to perform work as

a security guard. Defendant contends throughout his engagement with Defendant,

Plaintiff controlled the manner in which he performed his duties. Defendant denies

Plaintiff’s entitlement to any relief under the FLSA. Defendant is continuing to

investigate and considering a potential counterclaim.

      (c)    The legal issues to be tried are as follows:

Plaintiff’s Statement of the Issues

             (1)   Whether during the relevant period Plaintiff and Defendant were



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         subject to the provisions of the FLSA;

   (2)   Whether the collective class of and similarly situated employees

         can be properly ascertained and certified;

   (3)   What were the overtime wage compensation obligations

         Defendant owed Plaintiff and similarly situated employees

         pursuant to the FLSA;

   (4)   Whether the manner in which Defendant compensated Plaintiff

         and similarly situated employees complied with its FLSA

         overtime wage obligations;

   (5)   Whether Defendant’s overtime wage obligations were subject to

         a defense, exemption, or exception under the FLSA or otherwise;

   (6)   Whether the affirmative defenses asserted by Defendant are

         valid;

   (7)   To the extent there were any FLSA overtime violations, whether

         Defendant committed those violations willfully;

   (8)   To the extent there were any FLSA overtime violations, what are

         the overtime damages to which Plaintiff and similarly situated

         employees are entitled, if any;

   (9)   To the extent there were any FLSA overtime violations, what are


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                  the liquidated damages to which Plaintiff and similarly situated

                  employees are entitled, if any; and

            (10) To the extent there were any FLSA overtime violations, to what

                  other damages, including but not limited to costs and/or

                  attorneys’ fees, are Plaintiff and similarly situated employees

                  entitled and in what amount.

Defendant’s Statement of the Issues

            (1)   Whether Plaintiff can establish the elements of his FLSA

                  overtime claim;

            (2)   Whether Plaintiff’s claims are barred, in whole or in part, by

                  Defendant’s asserted defenses;

            (3)   Whether Plaintiff is entitled to damages, attorneys’ fees, and

                  costs.

      (d) The cases listed below (include both style and action number) are:

            (1) Pending Related Cases: None.

            (2) Previously Adjudicated Related Cases: None.




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2.   This case is complex because it possesses one or more of the features listed
below (please check):

      _____        (1)    Unusually large number of parties
      _____        (2)    Unusually large number of claims or defenses
      _____        (3)    Factual issues are exceptionally complex
      _____        (4)    Greater than normal volume of evidence
                   (5)    Extended discovery period is needed
      _____        (6)    Problems locating or preserving evidence
      _____        (7)    Pending parallel investigations or action by government
      _____        (8)    Multiple use of experts
      _____        (9)    Need for discovery outside United States boundaries
      _____        (10)   Existence of highly technical issues and proof
      _____        (11)   Unusually complex discovery of electronically stored
                          information

      The Parties do not contend this case is complex.

3.    Counsel:

      The following individually-named attorneys are hereby designated as lead
counsel for the parties:

      Plaintiff:   Gordon Van Remmen

      Defendant: Ian E. Smith

4.    Jurisdiction:

      Is there any question regarding this Court’s jurisdiction?

           Yes        X No

       If “yes,” please attach a statement, not to exceed one (1) page, explaining the
jurisdictional objection. When there are multiple claims, identify and discuss

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separately the claim(s) on which the objection is based. Each objection should be
supported by authority.

5.    Parties to This Action:

      (a)   The following persons are necessary parties who have not been joined:
            None.

      (b)   The following persons are improperly joined as parties: None.

      (c)   The names of the following parties are either inaccurately stated or
            necessary portions of their names are omitted: None.

      (d)   The parties shall have a continuing duty to inform the court of any
            contentions regarding unnamed parties necessary to this action or any
            contentions regarding misjoinder of parties or errors in the statement of
            a party’s name.

6.    Amendments to the Pleadings:

       Amended and supplemental pleadings must be filed in accordance with the
time limitations and other provisions of Fed. R. Civ. P. 15. Further instructions
regarding amendments are contained in LR 15.

      (a)   List separately any amendments to the pleadings which the parties
            anticipate will be necessary:

      Defendant may amend the pleadings to assert a counterclaim.

      (b)   Amendments to the pleadings submitted LATER THAN THIRTY (30)
            DAYS after the Joint Preliminary Report and Discovery Schedule is
            filed, or should have been filed, will not be accepted for filing, unless
            otherwise permitted by law.

7.    Filing Times for Motions:


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        All motions should be filed as soon as possible. The local rules set specific
filing limits for some motions. These times are restated below.

       All other motions must be filed WITHIN THIRTY (30) DAYS after the
beginning of discovery, unless the filing party has obtained prior permission of the
court to file later. Local Rule 7.1A(2).

      (a) Motions to Compel: before the close of discovery or within the
extension period allowed in some instances. Local Rule 37.1.

      (b) Summary Judgment Motions: within thirty (30) days after the close of
discovery, unless otherwise permitted by court order. Local Rule 56.1.

      (c) Other Limited Motions: Refer to Local Rules 7.2A, 7.2B, and 7.2E,
respectively, regarding filing limitations for motions pending on removal,
emergency motions, and motions for reconsideration.

      (d) Motions Objecting to Expert Testimony: Daubert motions with regard
to expert testimony no later than the date that the proposed pretrial order is
submitted. Refer to Local Rule 7.2F.

8.    Initial Disclosures:

      The parties are required to serve initial disclosures in accordance with Fed. R.
Civ. P. 26. If any party objects that initial disclosures are not appropriate, state the
party and basis for the party’s objection. Note: Your initial disclosures should
include electronically stored information. Refer to Fed.R.Civ.P. 26(a)(1)(B).

      The Parties have agreed that Initial Disclosure will not be due until February
      17, 2023.

9.    Request for Scheduling Conference:

      Does any party request a scheduling conference with the Court? If so, please


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state the issues which could be addressed and the position of each party.

      The Parties do not request a Scheduling Conference with the Court at this
      time.

10.   Discovery Period:

      The discovery period commences thirty days after the appearance of the first
defendant by answer to the complaint. As stated in LR 26.2A, responses to initiated
discovery must be completed before expiration of the assigned discovery period.

       Cases in this court are assigned to one of the following three (3) discovery
tracks: (a) zero month discovery period, (b) four months discovery period, and (c)
eight months discovery period. A chart showing the assignment of cases to a
discovery track by filing category is contained in Appendix F. The track to which a
particular case is assigned is also stamped on the complaint and service copies of the
complaint at the time of filing.

      Please state below the subjects on which discovery may be needed:

      (a) The factual and legal bases of Plaintiff’s claims;

      (b) The factual and legal bases of Defendant’s defenses;

      (c) The names and contact information for the putative class; and

      (c) Damages, if any.

      If the parties anticipate that additional time beyond that allowed by the
assigned discovery track will be needed to complete discovery or that discovery
should be conducted in phases or be limited to or focused upon particular issues,
please state those reasons in detail below:

      The Parties do not anticipate needing additional time for discovery beyond

that allowed by the assigned discovery track.

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11.   Discovery Limitation          and   Discovery    of   Electronically     Stored
      Information:

       (a) What changes should be made in the limitations on discovery imposed
under the Federal Rules of Civil Procedure or Local Rules of this Court, and what
other limitations should be imposed?

      At this time the Parties have not identified any need for limitations.

      (b) Is any party seeking discovery of electronically stored information?

        X     Yes              No

      If “yes,”

        (1) The parties have discussed the sources and scope of the production of
electronically stored information and have agreed to limit the scope of production
(e.g., accessibility, search terms, date limitations, or key witnesses) as follows:

      Parties have discussed the sources and scope of production of ESI, which may

      consist of employment data, wages, hours worked, and payroll records for

      Plaintiff and have agreed to work together to efficiently exchange all

      electronic discovery.

        (2) The parties have discussed the format for the production of
electronically stored information (e.g., Tagged Image File Format (TIFF or .TIF
files), Portable Document Format (PDF), or native, method of production (e.g.,
paper or disk), and the inclusion or exclusion and use of metadata, and have agreed
as follows:

      The Parties agree to work together cooperatively to search and produce

      relevant ESI. If requested and when available, electronically stored


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      information will be produced in native format (or other agreed format such

      as searchable PDF) with metadata intact and produced on a compact disc,

      DVD, USB drive, or some other form of universal media or electronic

      transmission. For emails stored on a Microsoft Exchange server, the parties

      agree that they can be produced in .pst format or searchable PDF format.

      Other, non-ESI documents may be produced in hard copy format or in

      searchable PDF format and produced on a compact disc, DVD, USB drive,

      or some other form of universal media or electronic transmission.

      In the absence of agreement on issues regarding discovery of electronically
stored information, the parties shall request a scheduling conference in paragraph 9
hereof.

12.   Other Orders:

      What other orders do the parties think that the Court should enter under Rule
26(c) or under Rule 16(b) or (c)?

      None at this time.




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13.   Settlement Potential:

       (a) Lead counsel for the parties certify by their signatures below that they
conducted a Rule 26(f) conference that was held on February 7, 2023, and that they
participated in settlement discussions. Other persons who participated in the
settlement discussions are listed according to party.

For Plaintiff:           Counsel: /s/ Gordon Van Remmen
                                      Gordon Van Remmen

For Defendant:           Counsel: /s/ Ian E. Smith
                                      Ian E. Smith

      (b) All parties were promptly informed of all offers of settlement and
following discussion by all counsel, it appears that there is now:

      ( X )        A possibility of settlement before discovery.

      ( X )        A possibility of settlement after discovery.

      (_____)      A possibility of settlement, but a conference with the judge is
                   needed.

      (_____)      No possibility of settlement.

       (c) Counsel ( X ) do or (___) do not intend to hold additional settlement
conferences among themselves prior to the close of discovery. The proposed date
of the next settlement conference is: to be determined at a later time.

       (d) The following specific problems have created a hindrance to settlement
of this case. Nothing at this time.

14.   Trial by Magistrate Judge:

      Note: Trial before a Magistrate Judge will be by jury trial if a party is


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otherwise entitled to a jury trial.

      (a) The parties ( ) do consent to having this case tried before a magistrate
judge of this court. A completed Consent to Jurisdiction by a United States
Magistrate Judge form has been submitted to the clerk of court this ____ day of
______________, 20___.

     (b) The parties ( X ) do not consent to having this case tried before a
Magistrate Judge of this court.

Respectfully submitted this February 17, 2023.


 Prepared by:                             Consented to and joined by:

 HALL & LAMPROS, LLP                      SPIRE LAW, LLC

 /s/                                      /s/
 Christopher B. Hall                      Ian E. Smith, Esq.
 Ga. Bar # 318380                         Georgia Bar No. 661492
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                                          Attorneys for AK Security Services LLC
 Attorneys for Plaintiff


Defendant’s counsel certifies that this report is in 14-point Times New Roman font.




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                           CERTIFICATE OF SERVICE

      I hereby certify that on February 17, 2023, I electronically filed the foregoing

Joint Preliminary Report and Discovery Plan with the Clerk of Court using the

CM/ECF system which will automatically send email notification of such filing to

all attorneys of record.

                                              THE SPIRE LAW FIRM

                                              /s/   Ian E. Smith
                                                    Ian E. Smith




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